  Case:15-06238-BKT13 Doc#:140-1 Filed:04/18/17 Entered:04/18/17 21:05:56 Desc:
Exhibit Certificate of Notice of Amended Plan dated 4/18/2017 w/ Notice of 21 da Page 1 of 2



                                    IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF PUERTO RICO

          IN RE                                           BANKRUPTCY 15-06238 BKT
          RAFAEL RAMOS SANTOS &                           CHAPTER 13
          JOHANA MARRERO BOU                             Order Vacating Dismissed 4/17/2017 doc
          Debtor                                        #139
                      CERTIFICATE OF SERVICE & NOTICE of AMENDED PLAN

                I hereby certify that a copy of Debtors’ Amended Plan dated 4/18/2017 was filed
         electronically and caused to be sent by CM/ECF to participants therein as follows:
         JOSE RAMON CARRION MORALES newecfmail@ch13-pr.com
         Ms. Mayra Arguelles, Esq at marguelles@ch13-pr.com , Ms. Alexandria Carrion, Esq. at
         arodriguez@ch13-pr.com

         MIGDALIA EFFIE GUASP for BPPR megbky@bppr.com, migdalia.guasp@popular.com
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         ROSAMAR GARCIA FONTAN for BAXTER CREDIT UNION
         rgarcia@fgrlaw.com rgarcia@ecf.courtdrive.com;acordero@fgrlaw.com;
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         MONSITA LECAROZ ARRIBAS ustpregion21.hr.ecf@usdoj.gov

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         EDUARDO M VERAY for BPPR – SPECIAL LOANS eduardo.veray@popular.com
         eduardoveray@gmail.com

         Notice will be mailed to those not participants in CmEcf electronic noticing as taken
         from the Court’s Matrix mailing Index obtained on this same date:

         Quantum3 Group LLC for Sadino Funding LLC: PO Box 788 Kirkland WA 98083-0788

         Adm Svcs Médicos de PR PO Box 2129 San Juan PR 00922-2129

         American Express Centurion Bank Becket & Lee PO Box 3001 Malvern PA 19355 -0701

         BC Santander/Santander Consumer USA Santander Consumer USA PO Box 961245

         CRIM BANKRUPTCY DIVISION PO BOX 195387 San Juan, PR 00919-5387


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         ELA DEPT OF TREASURY Office 424 B PO BOX 9024140 San Juan PR 00902-4140

         Eduardo T Arrieta Igartua Elias A Rodriguez Esq PO Box 1146 Sabana Seca 00952-1146

         Ermelinda López Rodríguez PO Box 8550 Humacao PR 00792-8550

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         IRS PO BOX 7346 Philadelphia PA 19101-7346

         Midland Credit Management Inc PO Box 2011 Warren MI 48090-2011

         Municipality of Dorado PO Box 588 Dorado PR 00646-0588

         Municipality of Corozal 9 Calle Cervantes Corozal PR 00783-2047

                                                   NOTICE
                Within twenty one (21) days after service as evidenced by the certification, and

         an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by

         mail, any party against whom this paper has been served, or any other party to the

         action who objects to the relief sought herein, shall serve and file an objection or other

         appropriate response to this paper with the Clerk’s office of the U.S. Bankruptcy Court

         for the District of Puerto Rico. If no objection or other response is filed within the time

         allowed herein, the paper will be deemed unopposed and may be granted unless: (I) the

         requested relief is forbidden by law; (ii) the requested relief is against public policy; or

         (iii) in the opinion of the Court, the interest of justice requires otherwise.

                In Caguas, Puerto Rico on the 18th day of April, 2017

                                             LA Morales
                                             s/LYSSETTE A MORALES VIDAL
                                             USDC PR #120011
                                             L.A. MORALES & ASSOCIATES P.S.C.
                                             URB VILLA BLANCA, #76 AQUAMARINA
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